                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                              )
                                                      )
               v.                                     )       Crim. No. 15-40023-TSH
                                                      )
DAVID L. MARICOLA,                                    )
                                                      )
                       Defendant.                     )


                     GOVERNMENT SENTENCING MEMORANDUM

       Over a period of approximately eighteen months, the defendant David Maricola

(“Maricola”) illegally exported and attempted to illegally export hundreds of assault rifle and

firearm components, which were designated as defense articles on the United States Munitions

List, to foreign persons located in more than twenty countries, including France, Finland,

Indonesia, New Zealand, Thailand, Spain, and Australia in violation of the Arms Export Control

Act, 22 U.S.C. §§ 2778(b)(2) and 2778(c), and the International Traffic in Arms Regulations, 22

C.F.R. §§ 121.1, 123.1, and 127.1(a). Pursuant to a plea agreement, the defendant pled guilty to

the 32-count indictment detailing his conspiracy and scheme to illegally sell and export gun parts

overseas. The United States submits this memorandum in support of its recommendation that the

Court impose a sentence of: (1) imprisonment for a period of 57 months, (2) 36 months of

supervised release, (3) a fine at the low end of the Guidelines sentencing range (unless the Court

finds that the defendant is unable to pay such a fine), and (4) a mandatory special assessment of

$3200. In the government’s judgment this sentence is a reasonable and appropriate disposition

of this case in that it is “sufficient, but not greater than necessary” to comply with the purposes

of the Sentencing Reform Act. See 18 U.S.C. § 3553(a).

       There will be one disputed issue at the sentencing hearing – the defendant refuses to take



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full responsibility for the reasonably foreseeable consequences of his conduct. The defendant

claims that he could not have foreseen that firearm parts he was illegally selling and exporting

overseas in violation of numerous laws and regulations would be used to engage in criminal

activities, including shootings. Such a claim defies logic. The defendant’s conspiracy and

unlawful activities involved potentially lethal and inherently dangerous goods that have a single

purpose – to enable a person to expel or shoot bullets or ammunition through a metal tube using

explosive force. Firearms are not designed for any other purpose. Maricola now attempts to

feign surprise at the fact that gun parts he shipped illegally to a unlicensed end-user were used in

shootings. Accordingly, this Court should reject Maricola’s argument and find that the use of the

firearm parts Maricola exported to Finland in gang shootings constitutes relevant conduct and

was reasonably foreseeable under U.S.S.G. § 1B1.3.

       I.      PLEA

       On April 7, 2016, pursuant to a plea agreement, David L. Maricola (“Maricola”), pled

guilty to a 32-count Indictment, which charged him with conspiring to illegal export defense

articles (assault rifle and firearm components) from the United States (Count 1), illegally

exporting and attempted to export defense articles (assault rifle and firearm components) from

the United States to numerous foreign countries (Counts 2-20), making false statements on

Customs Forms (Counts 21-27), and engaging in money laundering by causing money to be

transferred from outside the United States to inside the United States for the purpose of engaging

in unlawful exports of defense articles (Counts 28-32).

       II.     LEGAL FRAMEWORK – THE ARMS EXPORT CONTROL ACT AND
               INTERNATIONAL TRAFFIC IN ARMS REGULATIONS

       The export from, and import into, the United States of arms, munitions, weapons,

equipment for military use and related components, and the technology to design, build and test

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such items are strictly controlled and regulated under federal law. The Arms Export Control Act

(“AECA”), 22 U.S.C. § 2778 et seq., authorizes the President of the United States to control the

export and import of defense articles and defense services in furtherance of world peace, national

security, and the foreign policy of the United States and to establish and maintain a United States

Munitions List for that purpose. The President has delegated the authority to regulate the export

and import of defense articles and defense services to the Secretary of State. Pursuant to that

authority, the Department of State has promulgated the International Traffic in Arms

Regulations, 22 C.F.R. Sections 120-130 (“ITAR”).

       The ITAR contains the United States Munitions List (“USML”) and regulations

governing exports and imports of defense articles and services. The USML is a list, divided into

21 categories, that identifies the types of items, services, and related technical data that are

designated as defense articles and defense services under AECA. See 22 C.F.R. § 121.1. Items

or services that are designated or controlled under any category of the USML “may not be

exported … without a license” from the U.S. Department of State.

       Category I of the USML is entitled “Firearms, Close Assault Weapons and

Combat Shotguns.” Included under this category of the USML are non-automatic, semi-

automatic, and fully automatic firearms having a caliber of .50 (12.7 mm) or less, combat

shotguns, weapons having a special military application (“Category I specified weapons”), and

components, parts, accessories, and attachments for these weapons. See 22 C.F.R. § 121.1

(Categories I(a)-I(d) and Category I(h)). The following items which Maricola exported or

attempted to export are designated as defense articles on the USML: (1) upper and lower

receivers for AR-15 semi-automatic assault rifles; (2) upper and lower receivers for




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M16 semi-automatic and fully automatic assault rifles; (3) gunstocks for AR-15 semi-automatic

assault rifles; (4) barrels for AR-15 semi-automatic assault rifles; (5) barrels for M16 semi-

automatic and fully automatic assault rifles; (6) gas tubes for AR-15 semi-automatic assault

rifles; (7) flash suppressors for AR-15 semi-automatic assault rifles; (8) flash suppressors for

M16 semi-automatic and fully automatic assault rifles; (9) barrels for UZI submachine guns; (10)

upper receivers for M4 semi-automatic and fully automatic assault rifles; (11) bolt carrier groups

and charging handles for M16 semi-automatic and fully automatic assault rifles; (12) barrels for

Glock 9 mm and .40 and .45 caliber handguns (Glock Models 17, 19, 21, 23, 26, 27, 28, and 30);

(13) pistol slides for Glock 9 mm and .40 and .45 caliber handguns (Glock Models 17, 19, 21,

23, 26, 27, 28, 30, and 36); (14) barrels for Beretta 9 mm handguns; (15) pistol slides for Beretta

9 mm handguns; and (16) barrels for .22 caliber handguns. As a result, Maricola was required

to obtain a license from the U.S. Department of State prior to exporting or attempting to export

these items from the United States. At no time did Maricola or any of his customers or

conspirators, including Arto Laatikainen, apply for, or obtain a license from the Department of

State to export any defense articles from the United States.

       III.       OFFENSE CONDUCT AND RELEVANT FACTS

       The government relies upon the facts contained in ¶¶ 1-39 of the PSR. Highlighted

below are the most salient facts that the Court should consider in imposing a fair and justice

sentence:

                 Over a period of eighteen months, Maricola conspired with Arto Laatikanien to
                  export hundreds of assault rifle and firearm components (including lower
                  receivers, gunstocks, and gas tubes for AR-15 assault rifles, upper receivers for
                  AR-15 and M4 assault rifles, bolt carrier groups for M16 assault rifles, barrels and
                  pistol slides for Glock 9mm and .45 caliber handguns, barrels and pistol slides for
                  Beretta 9mm handguns, and barrels for UZI submachine guns) from the United
                  States to Finland knowing that it was illegal to ship these items outside the United
                  States without first obtaining an export license.

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   Pursuant to Laatikanien’s instructions, Maricola shipped the firearm parts
    Laatikanien had purchased to numerous people (see Count One, overt acts) in
    Finland. Maricola never inquired about the identity or status of Finnish persons to
    which he was sending the firearm parts. Nor did Maricola seek any information
    about how Laatikanien and his associates intended to use the firearm parts
    Maricola was supplying them.

   Laatikanien sold many of the firearm components he received from Maricola to
    numerous criminal organizations in Finland, including members of the
    Cannonballs Outlaw Motorcycle Gang. At least some of the components
    Maricola exported to Laatikanien were used to assemble entire weapons and sell
    them illegally. Additionally, according to information obtained from Finnish
    investigators, some of the firearm components Maricola exported to Laatikanien
    were used in two gang shootings in Finland that occurred on May 24, 2011 and on
    December 31, 2012.

   Laatikanien paid Maricola more than $100,000 for the firearm parts he illegally
    sold and exported to Finland.

   On numerous occasions between in or about 2010 and March 2012, Maricola
    falsely completed Customs Forms 2976 and 2976-A for international shipments,
    which Maricola then presented to postal clerks at the Southbridge Massachusetts
    Post Office. On these forms, Maricola falsely described the items he was
    shipping and undervalued the parts -- sometimes by hundreds of dollars. For
    instance, Maricola falsely identified parts he shipped to numerous countries,
    including Finland, France, Norway, New Zealand, Thailand, and Germany, as
    being “airsoft” parts rather than actual firearm components. (Airsoft guns are
    replica firearms that fire plastic pellets or bb’s. They are designed to be non-
    lethal and are used almost exclusively for recreational purposes. Accordingly,
    airsoft guns and parts for such guns are excluded from the definition of defense
    articles on the USML.). Additionally, on several occasions, Maricola falsely
    identified lower receivers (frames) for AR-15 assault rifles as aluminum
    sculptures.

   Maricola repeatedly lied to postal clerks at the Southbridge Massachusetts Post
    Office. Between in or about 2011 and 2012, Maricola shipped numerous
    packages per week from the Southbridge Post Office. For every shipment, postal
    employees were required to ask about the contents of each package to ensure it
    did not contain any potentially hazardous or potentially dangerous items such as
    guns. In every interaction with the postal clerks about the contents of his
    packages, Maricola lied about what he was mailing. Maricola told the clerks that
    he wasn’t mailing real guns or firearms; he was mailing “airsoft parts,” which he
    repeatedly described as “parts for paint ball guns.”




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       IV.     DISPUTED FACTS

       “At sentencing, a defendant in a jointly undertaken criminal activity is liable for the harm

resulting from acts directly attributable to him and for the harm resulting from the reasonably

foreseeable acts of others taken in furtherance of the jointly undertaken criminal activity.”

United States v. Pizarro-Berrios, 448 F.3d 1, 6 (1st Cir. 2006) (citing U.S.S.G. § 1B1.3(a)(1),

(3)). Maricola asks the Court to disregard the reasonably foreseeable consequences of his own

actions and that of his conspirator, and how the parts the defendant illegally shipped overseas

were used. Indeed, Maricola asks this Court to even ignore the fact that Laatikanien, the person

with whom Maricola had conspired for almost one and half years, had sold Maricola’s gun parts

to criminal organizations in Finland, including the Cannonballs Outlaw Motorcycle Gang. This

conduct is reasonably foreseeable as Maricola knew Laatikanien would not be keeping the

hundreds of gun parts Maricola was supplying to him. To the contrary, as Maricola

acknowledges in his objections to the PSR, Laatikanien told Maricola that he (Laatikanien)

owned a gun store in Finland. Therefore, it was reasonably foreseeable that the gun parts would

be sold to person who, like Maricola and Laatikanien, did not wish to comply with the

government’s laws and regulations. Consequently, Maricola should be held responsible for the

shootings that resulted from these illegal sales of firearms. See United States v. Rojas-Mendoza,

456 Fed.Appx. 477, 480 (5th Cir. 2012) (affirming district court’s finding that serious bodily

injury to aliens being illegally transported was reasonably foreseeable despite defendant’s claim

that his conspirator’s dangerous and evasive driving maneuvers were reckless and

unforeseeable); United States v. Fortier, 242 F.3d 1224, 1232-33 (10th Cir. 2001) (endorsing

increased sentence for defendant who sold guns for McVeigh and Nichols because it was

reasonably foreseeable that the proceeds of this sale -- $2000 -- “had the capacity to further the



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bombing of the Murrah Federal Building”); United States v. Chavis, 296 F.3d 450, 464 (6th Cir.

2002) (purchase of two handguns was reasonably foreseeable where the defendant and his

conspirator jointly caused a third person to make false statements to a federally licensed firearms

dealer); see also United States v. Ali, 444 F.3d 34, 38-39 (1st Cir. 2006) (intended loss for theft of

credit cards was the full credit limit of each stolen credit card because such a loss “naturally and

probably flows from” the unlawful conduct).

       Accordingly, the harm caused from the use of the illegally exported firearm components

in Finland is a reasonably foreseeable consequence of the defendant’s criminal conspiracy that

should be considered as relevant conduct here. See U.S.S.G. § 1B1.3.

       V.      ADVISORY GUIDELINE CALCULATIONS

       As indicated in the plea agreement and consistent with the probation’s calculations (See

PSR at ¶ 46), the parties agree that the base offense level is 26 pursuant to U.S.S.G.

§ 2M5.2(a)(1) , which is increased by two levels because the defendant was convicted of money

laundering, 18 U.S.C. § 1956. See PSR at ¶ 47; U.S.S.G. § 2S1.1(b)(2)(B). Because the

defendant pled guilty and has accepted responsibility, his offense level is reduced by three levels

for a total offense level of 25 (57-71 months).

       VI.     FACTORS TO BE CONSIDERED UNDER 18 U.S.C. § 3553(a)

A.     Deterrence of Criminal Conduct

       The illegal export of firearm and firearm parts is very serious crime as reflected by the

Guidelines’ assessment of a base offense level of 26. The illegal export of weapons (like those

involved in this case) is “harmful and has the potential to be harmful to a security or foreign

policy of the United States.” See U.S.S.G. § 2M5.2 app. note 1. Among the most important

functions served by sentencing this defendant is the deterrent message the sentence will convey



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to those who might consider violating our export laws and shipping parts obtained from a U.S.

supplier or the internet to a foreign person for a profit. See United States v. Flores-Machicote,

706 F.3d 16, 23 (1st Cir. 2013) (“Deterrence is widely recognized as an important factor in the

sentencing calculus.”) (citing 18 U.S.C. § 3553(a)(2)(B)). Deterrence is “particularly important

in the area of white collar crime.” United States v. Prosperi, 686 F.3d 32, 47 (1st Cir. 2012)

(citations omitted). Illegal export activity has the potential of putting weapons in the hands of

criminals and terrorists and endangering our national security, public safety, and foreign policy.

B.     Nature and Circumstances of the Offense

       The details of the defendant’s conduct contained in the PSR demonstrate the seriousness

of his offenses. This was not an isolated incident. Rather, it involved extensive planning and

coordination with foreign persons, and lying to postal clerks and falsely completing customs

forms multiple times per week for a period of eighteen months. Additionally, the defendant

illegally exported hundreds of assault rifle and firearm parts worth more than $100,000. Indeed,

Laatikanien alone paid Maricola $108,818.35 for his illegal exports to Finland. These factors

would justify an upward departure (see application note 2 to U.S.S.G. § 2M5.2) but due to the

defendant’s guilty plea and prior cooperation, the government is seeking a sentence within the

low-end of level 25.

C.     History and Characteristics of the Defendant

       The defendant’s motivation in committing these crimes was greed and the government

did not uncover any evidence that he intended to engage in, or assist in committing, violent

activities. Additionally, for a period of approximately two months after the authorities executed

a search warrant at his residence, Maricola cooperated in a limited capacity with Special Agents

of Homeland Security Investigations and Defense Criminal Investigative Service by forwarding



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e-mails from foreign customers to the agents. The special agents, however, never instructed

Maricola to send the e-mail detailed in ¶ 31 of the PSR. To the contrary, the special agents had

requested the defendant not to alert his customers he had gotten caught so that the agents could

potentially identify any new illegal transactions or targets.

D.     Need for the Sentence Imposed to Reflect the Seriousness of the Offense and
       Promote Respect for the Law, to Provide Just Punishment for the Offense

       For the reasons already discussed, the defendant’s crimes were serious and warrant a

significant sentence of imprisonment. Incarceration for 57 months years will reflect the

seriousness of the offense and promote respect for the law, while recognizing that the defendant

accepted responsibility for his crimes. Additionally, there is a least a moderate risk of recividism

here. Notwithstanding the seriousness of the defendant’s crimes and the need for a sentence that

provides general deterrence and promotes respect for the law, the government believes a

sentence of 57 months is reasonable.

                                              CONCLUSION

       For the foregoing reasons and the facts detailed in the PSR, the Court should sentence the

defendant to term of imprisonment for a period of 57 months. As a result of the defendant’s

illegal activities, hundreds of inherently dangerous and potentially lethal firearm parts were

illegally exported to unlicensed and unregistered foreign persons who can use, and have used,

these weapons to engage in criminal activities.


                                               Respectfully submitted,

                                               CARMEN M. ORTIZ
                                               United States Attorney

                                       By:     /s/ B. Stephanie Siegmann
                                               B. STEPHANIE SIEGMANN
                                               Assistant U.S. Attorney

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                                     Certificate of Service

       I do hereby certify that a copy of foregoing was served upon the counsel of record for the
defendant by electronic notice on this 12th day of August 2016.

                                     /s/ B. Stephanie Siegmann
                                     B. Stephanie Siegmann




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